       Case 3:11-cv-00242-MEF-WC Document 58-1 Filed 12/14/12 Page 1 of 1

Case No.: 11-cv-242


                          CERTIFICATE OF SERVICE

        I hereby certify that I have electronically filed the foregoing with the Clerk

of Court using the E-Filing/ECF system which will send notification of such filing

to the following:


Christina D. Crow                              L. Shane Seaborn
JINKS, CROW & DICKSON, P.C.                    PENN & SEABORN, LLC
P.O. Box 350                                   P.O. Box 688
219 Prairie Street North                       Clayton, AL 36073
Union Springs, AL 36089                        Attorneys for Plaintiff
Attorneys for Plaintiff

Best Interest Rate Mortgage Company,           John William Partin
LLC                                            PENN & SEABORN, LLC
c/o National Registered Agents, Inc.           P.O. Box 688
141 Peaked Mountain Road                       Clayton, AL 36073
P.O. Box 538                                   Attorneys for Plaintiff
Townshend, VT 05353

Nicholas H. Wooten                             Nathan A. Dickson
Nick Wooten, LLC                               JINKS, CROW & DICKSON, P.C.
P.O. Box 3389                                  P.O. Box 350
Auburn, AL 36831                               219 Prairie Street North
                                               Union Springs, AL 36089
                                               Attorneys for Plaintiff



                                        /s/ Barry A. Brock
                                        ATTORNEY FOR DEFENDANT




{BH150990.1}                               1
